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                             Exhibit 16
Plaintiffs’ Corrected Averment of Jurisdictional Facts and Evidence
      and/or Statement of Facts as to Defendant Al Rajhi Bank
                       Pursuant to Rule 56.1
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                           In the name of Allah, the Gracious, the Merciful
                                                                       [Handwritten Text: India – File]




                   SULAIMAN BIN ABDUL AZIZ AL RAJHI CHARITABLE FOUNDATION

Date: 27/07/1422 AH                                                                    No. 321/A
Corresponding: 14/10/2001 AD

His Excellency Brother Dr. Manei bin Hammad Al Juhani, may Allah bless him
        Secretary General of the World Assembly of Muslim Youth
                May the peace, mercy, and blessings of Allah be upon you.

       We ask Allah the almighty that you are doing really well.

        We are pleased to enclose herewith Check No. 4337, dated 23/07/1422 AH (10/10/2001 AD), in
an amount of 131,250 Saudi Riyals (Only One Hundred Thirty-One Thousand And Two Hundred Fifty
Saudi Riyals). This represents a donation from the Sulaiman Bin Abdul Aziz Al Rajhi Charitable
Foundation to the Islamic Research Foundation in India according to the address below:

       Thank you. Your efforts and cooperation are appreciated.
       May Allah use you and us as tools for goodness. May Allah lead you and us to what Allah likes.
       May the peace, mercy, and blessings of Allah be upon you.

[Handwritten Text: 600]

                                       General Supervisor
                                       Abdel Rahman bin Abdullah Al Rajhi
                                       [Handwritten Signature]

Address:
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